                                      Case 15-20932                        Doc 1           Filed 06/16/15 Entered 06/16/15 21:49:16                                                    Desc Main
B1 (Official Form 1)(04/13)                                                                  Document     Page 1 of 55
                                                              United States Bankruptcy Court
                                                                         Northern District of Illinois                                                                              Voluntary Petition
           }bk1{Form.VluntayPei




 Name of Debtor (if individual, enter Last, First, Middle):                                                                Name of Joint Debtor (Spouse) (Last, First, Middle):
  Patel, Bhakti Bhai A


All Other Names used by the Debtor in the last 8 years                                                                     All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                                (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                              Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                              (if more than one, state all)
  xxx-xx-8047
Street Address of Debtor (No. and Street, City, and State):                                                                Street Address of Joint Debtor (No. and Street, City, and State):
  4937 N Sayre Avenue
  Chicago, IL
                                                                                                          ZIP Code                                                                                            ZIP Code
                                                                                                       60656
County of Residence or of the Principal Place of Business:                                                                 County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                                              Mailing Address of Joint Debtor (if different from str eet address):


                                                                                                          ZIP Code                                                                                            ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):



                                    Type of Debtor                                        Nature of Business                                               Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                             (Check one box)                                                  the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                                          Health Care Business                                     Chapter 7
     See Exhibit D on page 2 of this form.                                        Single Asset Real Estate as defined                                                      Chapter 15 Petition for Recognition
                                                                                                                                           Chapter 9
     Corporation (includes LLC and LLP)                                           in 11 U.S.C. § 101 (51B)
                                                                                  Railroad                                                 Chapter 11                      of a Foreign Main Proceeding
     Partnership                                                                                                                                                           Chapter 15 Petition for Recognition
                                                                                  Stockbroker                                              Chapter 12
     Other (If debtor is not one of the above entities,
     check this box and state type of entity below.)                              Commodity Broker                                         Chapter 13                      of a Foreign Nonmain Proceeding
                                                                                  Clearing Bank
                                                                                  Other                                                                                Nature of Debts
                                  Chapter 15 Debtors
                                                                                         Tax-Exempt Entity                                                               (Check one box)
 Country of debtor's center of main interests:
                                                                                        (Check box, if applicable)                         Debts are primarily consumer debts,                  Debts are primarily
                                                                                  Debtor is a tax-exempt organization                      defined in 11 U.S.C. § 101(8) as                     business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                                     under Title 26 of the United States                      "incurred by an individual primarily for
                                                                                  Code (the Internal Revenue Code).                        a personal, family, or household purpose."

                                           Filing Fee (Check one box)                                        Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must                            Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                                  are less than $2,490,925 (amount subject to adjustm ent on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                                             Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                                 A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                                  in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR COURT USE ONLY
    Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-                            50-          100-          200-          1,000-        5,001-        10,001-       25,001-        50,001-           OVER
     49                            99           199           999           5,000        10,000         25,000        50,000         100,000          100,000
Estimated Assets
     $0 to                         $50,001 to   $100,001 to   $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000                       $100,000     $500,000      to $1         to $10       to $50         to $100        to $500      to $1 billion $1 billion
                                                              million       million      million        million        million
Estimated Liabilities
     $0 to                         $50,001 to   $100,001 to   $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000                       $100,000     $500,000      to $1         to $10       to $50         to $100        to $500      to $1 billion $1 billion
                                                              million       million      million        million        million
                  Case 15-20932                 Doc 1         Filed 06/16/15 Entered 06/16/15 21:49:16                                         Desc Main
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                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Patel, Bhakti Bhai A
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                              Case Number:                                    Date Filed:
Where Filed: Northern District of Ohio                                                12-31148                                         3/15/12
Location                                                                              Case Number:                                    Date Filed:
Where Filed:
             Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                                       Case Number:                                    Date Filed:
 - None -
District:                                                                             Relationship:                                   Judge:


                                      Exhibit A                                                                                 Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
                                                                                        under each such chapter. I further certify that I delivered to the debtor the notice
  and is requesting relief under chapter 11.)
                                                                                        required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                          X /s/Patricia A. Kovacs 04/29/2015
                                                                                              Signature of Attorney for Debtor(s)                    (Date)



                                                                                  Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30 -day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)
                                                                   Document     Page 3 of 55                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Patel, Bhakti Bhai A
(This page must be completed and filed in every case)
                                                                                     Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7. [If              I request relief in accordance with chapter 15 of title 11. United States Code.
     no attorney represents me and no bankruptcy petition preparer signs the                    Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/Bhakti Bhai A. Patel                                                                     Signature of Foreign Representative
     Signature of Debtor Bhakti Bhai A Patel

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)
                                                                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
         April 29, 2015                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                               Signature of Attorney*                                          and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
 X /s/Patricia A. Kovacs                                                                       pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
                                                                                               debtor or accepting any fee from the debtor, as required in that section.
      Patricia A. Kovacs
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Patricia A. Kovacs Attorney,                Ohio 0061780                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      P.O. Box 257
     Curtice, OH 43412                                                                         Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: patricia.a.kovacs@gmail.com
      419-787-2666 Fax: 419-836-8613
     Telephone Number
            April 29, 2015                                                                     Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                         Case No.
                                                                                     Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collectionactivities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

            D 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
        • 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
            D 3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstanceshere.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counselingbriefing.

            D 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by thecourt.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2

                           D Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
             mental deficiency so as to be incapable of realizing and making rational decisions with respect to
             financial responsibilities.);
                    D Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent ofbeing
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                    D Active military duty in a military combat zone.

       D 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true andcorrect.

                                                        Signature of Debtor: /s/Bhakti Bhai Patel
                                                                                 Bhakti Bhai A Patel

                                                        Date:        April 28, 2015




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B 6 Summary (Official Form 6 - Summary) (12/13)




                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          Bhakti Bhai A Patel                                                                           Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                               Chapter                     7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,B,
     D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add
     the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also
     complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




          NAME OF SCHEDULE                               ATTACHED           NO. OF           ASSETS               LIABILITIES               OTHER
                                                          (YES/NO)          SHEETS

A - Real Property                                               Yes            1                  314,000.00


B - Personal Property                                           Yes            4                  204,900.00


C - Property Claimed as Exempt                                  Yes            1


D - Creditors Holding Secured Claims                            Yes            1                                         259,544.00


E - Creditors Holding Unsecured                                 Yes            1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                 Yes            2                                         333,779.00
    Nonpriority Claims

G - Executory Contracts and                                     Yes            1
    Unexpired Leases

H - Codebtors                                                   Yes            1


I - Current Income of Individual                                Yes            2                                                                    3,950.00
    Debtor(s)

J - Current Expenditures of Individual                          Yes            2                                                                    4,938.00
    Debtor(s)

                                                                               16
   Total Number of Sheets of ALL Schedules

                                                                                                  518,900.00
                                                                         Total Assets


                                                                                           Total Liabilities             593,323.00




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B 6 Summary (Official Form 6 - Summary) (12/13)




                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          Bhakti Bhai A Patel                                                                          Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7



             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


           Type of Liability                                                                     Amount

           Domestic Support Obligations (from Schedule E)

           Taxes and Certain Other Debts Owed to Governmental Units
           (from Schedule E)
           Claims for Death or Personal Injury While Debtor Was Intoxicated
           (from Schedule E) (whether disputed or undisputed)

           Student Loan Obligations (from Schedule F)

           Domestic Support, Separation Agreement, and Divorce Decree
           Obligations Not Reported on Schedule E
           Obligations to Pension or Profit-Sharing, and Other Similar Obligations
           (from Schedule F)

                                                                               TOTAL


           State the following:

           Average Income (from Schedule I, Line 12)

           Average Expenses (from Schedule J, Line 22)

           Current Monthly Income (from Form 22A Line 12; OR,
           Form 22B Line 11; OR, Form 22C Line 20 )


           State the following:
           1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
               column
           2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
               column
           3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
               PRIORITY, IF ANY" column

           4. Total from Schedule F


           5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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                Bhakti Bhai A Patel                                                                                Case No.
  In re
                                                                                         Debtor       ,



                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,         Current Value of
                                                                                                       Wife,          Debtor's Interest in
                Description and Location of Property                          Nature of Debtor's                       Property, without        Amount of
                                                                              Interest in Property     Joint, or     Deducting any Secured     Secured Claim
                                                                                                     Community        Claim or Exemption



4937 N. Sayre Avenue, Chicago, IL 60656                                                                   -                   314,000.00             259,544.00
Residential Real Estate
Debtor's residence subject to liens of Chase Bank
and Harris Bank




                                                                                                       Sub-Total >            314,000.00      (Total of this page)

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B6A (Official Form 6A) (12/07)                                                                      Total >        314,000.00


  0     continuation sheets attached to the Schedule of Real Property
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                                                                                                (Report also on Summary of Schedules)




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B6B (Official Form 6B) (12/07)


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                Bhakti Bhai A Patel                                                                                 Case No.
  In re
                                                                                         Debtor          ,



                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital communityown
the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                           N                                                             Husband,            Current Value of
                                                           O                 Description and Location of Property         Wife,        Debtor's Interest in Property,
                Type of Property                           N                                                              Joint, or       without Deducting any
                                                           E                                                            Community      Secured Claim or Exemption



1.    Cash on hand                                         X

2.    Checking, savings or other financial                     checking account at Albany Bank                                 -                           500.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                       checking account at Liberty Bank                                -                        1,800.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.


3.    Security deposits with public                        X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                         Normal and ordinary household goods and                         -                        2,500.00
      including audio, video, and                              furnishings
      computer equipment.


5.    Books, pictures and other art                        X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                         normal seasonal clothing                                        -                           100.00

7.    Furs and jewelry.                                    X

8.    Firearms and sports, photographic,                   X
      and other hobby equipment.

9.    Interests in insurance policies.                         life insurance policy with Jackson Life death                   -                              0.00
      Name insurance company of each                           benefit is $500K and beneficiary is 2 sons; term
      policy and itemize surrender or                          policy with no cash value
      refund value of each.


10. Annuities. Itemize and name each                       X
    issuer.




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B6B (Official Form 6B) (12/07)                                                                       Total > (Total of this
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  3     continuation sheets attached to the Schedule of Personal            Property




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B6B (Official Form 6B) (12/07) - Cont.




                Bhakti Bhai A Patel                                                                                  Case No.
  In re
                                                                                         Debtor          ,



                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                           N                                                                Husband,            Current Value of
                                                           O                 Description and Location of Property            Wife,        Debtor's Interest in Property,
                Type of Property                                                                                             Joint, or       without Deducting any
                                                           N
                                                           E                                                               Community      Secured Claim or Exemption


11. Interests in an education IRA as                       X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan as
    defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                     X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                    X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                         Budget Motel located at 2287 Broadway, Gary,                      -                               0.00
    ventures. Itemize.                                         Indiana
                                                               17-room hotel with no branding; independent hotel;
                                                               debtor does not own real estate where hotel is; his
                                                               former spouse owns the building where the hotel is
                                                               located. Hotel does cash-only business.

                                                                                                                                 -

   15. Government and corporate bonds                      X
     and other negotiable and
     nonnegotiable instruments.

16. Accounts receivable.                                   X

   17. Alimony, maintenance, support, and                  X
     property settlements to which the
     debtor is or may be entitled. Give
     particulars.

       18. Other liquidated debts owed to debtor X
       including tax refunds. Give particulars.


   19. Equitable or future interests, life                 X
     estates, and rights or powers
     exercisable for the benefit of the
     debtor other than those listed in
     Schedule A - Real Property.




                                                                                                                                 Sub-Total >         200,000.00
                                                                                                                    (Total of this page)

Sheet 1      of 3      continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




                Bhakti Bhai A Patel                                                                                  Case No.
  In re
                                                                                         Debtor          ,



                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                           N                                                                Husband,            Current Value of
                                                           O                 Description and Location of Property            Wife,        Debtor's Interest in Property,
                Type of Property                                                                                             Joint, or       without Deducting any
                                                           N
                                                           E                                                               Community      Secured Claim or Exemption


20. Contingent and noncontingent                           X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                      X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                         X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                        X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                   X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                     X
    other vehicles and accessories.

26. Boats, motors, and accessories.                        X

27. Aircraft and accessories.                              X

28. Office equipment, furnishings, and                     X
    supplies.

29. Machinery, fixtures, equipment, and                    X
    supplies used in business.

30. Inventory.                                             X

31. Animals.                                               X

32. Crops - growing or harvested. Give                     X
    particulars.

33. Farming equipment and                                  X
                                                                                                                                 Sub-Total >                   0.00
                                                                                                                    (Total of this page)

Sheet 2      of 3      continuation sheets attached
to the Schedule of Personal Property

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     implements.
B6B (Official Form 6B) (12/07) - Cont.




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Sheet 2      of 3      continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




                Bhakti Bhai A Patel                                                                                 Case No.
  In re
                                                                                         Debtor          ,



                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                           N                                                             Husband,             Current Value of
                                                           O                 Description and Location of Property         Wife,         Debtor's Interest in Property,
                Type of Property                                                                                          Joint, or        without Deducting any
                                                           N
                                                           E                                                            Community       Secured Claim or Exemption


34. Farm supplies, chemicals, and feed.                    X

35. Other personal property of any kind                    X
    not already listed. Itemize.




Sheet 3      of 3      continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)

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Sheet 3      of 3      continuation sheets attached
to the Schedule of Personal Property                                                                            (Report also on Summary of Schedules)

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 B6C (Official Form 6C) (4/13)


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                 Bhakti Bhai A Patel                                                                                      Case No.
   In re
                                                                                            Debtor            ,



                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                     Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                     $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                          with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                     ecify Law Providing                          Value of                  Current Value of


                   Description of Property                                      Sp                                              Claimed                   Property Without
                                                                                     Each Exemption                             Exemption                Deducting Exemption

Other Exemptions
4937 N. Sayre Avenue, Chicago, IL 60656                                    735 ILCS 5/12-901                                          15,000.00                       314,000.00
Residential real estate
Debtor's residence subject to liens of Chase
Bank and Harris Bank

Checking account at Albany Bank                                            735 ILCS 5/12-1001(b)                                           400.00                           500.00

Checking account at Liberty Bank                                           735 ILCS 5/12-1001(b)                                        1,800.00                          1,800.00

Normal and ordinary household goods and                                    735 ILCS 5/12-1001(b)                                        2,500.00                          2,500.00
furnishings

Normal seasonal clothing                                                   735 ILCS 5/12-1001(a)                                           100.00                           100.00




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B6C (Official Form 6C) (4/13)


                                                                                                Total:      19,800.00         318,900.00
   0     continuation sheets attached to Schedule of Property Claimed as Exempt




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 B6D (Official Form 6D) (12/07)


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   In re          Bhakti Bhai A Patel                                                                                            Case No.
                                                                                                                    ,
                                                                                                      Debtor



                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
 security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                          C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                               O    N   I
                                                             D                DATE CLAIM WAS INCURRED,                       N    L   S       CLAIM
           AND MAILING ADDRESS                                   H                                                                                                 UNSECURED
                                                             E
                                                                 W              NATURE OF LIEN, AND                          T    I   P      WITHOUT
            INCLUDING ZIP CODE,                              B                                                               I    Q   U     DEDUCTING              PORTION, IF
           AND ACCOUNT NUMBER
                                                             T   J             DESCRIPTION AND VALUE                         N    U   T                               ANY
                                                             O   C                   OF PROPERTY                             G    I   E      VALUE OF
             (See instructions above.)                       R
                                                                                   SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. 8660                                                        Revolving account opened 1/05; second                     E
                                                                                                                                  D
                                                                        mortgage on residential real estate
Bmo Harris Bank                                                         located on Sayre Avenue in Chicago, IL
Po Box 94034
Palatine, IL 60094
                                                                 -

                                                                        Value $                            314,000.00                          52,650.00                        0.00
Account No. 5259                                                        mortgage account opened on 4/05
                                                                        4937 N. Sayre Avenue, Chicago, IL 60656
JP Morgan Chase Bank                                                    Residential Real Estate
PO Box 182613                                                           Debtor's residence subject to liens of
Columbus, OH 43218                                                      Chase Bank and Harris Bank
                                                                 -

                                                                        Value $                            314,000.00                         206,894.00                        0.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                           Subtotal
  0     continuation sheets attached                                                                                                          259,544.00                        0.00
                                                                                                                 (Total of this page)
                                                                                                                          Total               259,544.00                        0.00
                                                                                                (Report on Summary of Schedules)
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                Bhakti Bhai A Patel                                                                                                  Case No.
  In re
                                                                                                  Debtor                ,



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.
          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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B6E (Official Form 6E) (4/13)                                              0    continuation sheets attached




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   In re          Bhakti Bhai A Patel                                                                                     Case No.
                                                                                                                  ,
                                                                                                  Debtor




                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                              C    U   D
                   CREDITOR'S NAME,                                      O                                                                   O    N   I
                   MAILING ADDRESS                                       D   H                                                               N    L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                         T    I   P
                                                                         B   W                                                               I    Q   U
                AND ACCOUNT NUMBER                                                     CONSIDERATION FOR CLAIM. IF CLAIM                                  AMOUNT OF CLAIM
                                                                         T   J                                                               N    U   T
                  (See instructions above.)                              O               IS SUBJECT TO SETOFF, SO STATE.                     G    I   E
                                                                             C
                                                                         R                                                                   E    D   D
                                                                                                                                             N    A
Account No. 9476                                                                                                                             T    T
                                                                                 installment account opened 11/09; Debtor is                      E
                                                                                 co-signor on son's vehicle which is a 2010                       D

American Honda Finance                                                           Honda Odyssey
2170 Point Blvd                                                              -
Ste 100
Elgin, IL 60123
                                                                                                                                                                       13,576.00
Account No. 1808                                                                 revolving account opened 8/97

Citi
PO Box 6241                                                                  -
Sioux Falls, SD 57117

                                                                                                                                                                             23.00
Account No. 0124                                                                 revolving account opened 6/05

Gecrb/ Sams Club DC
PO Box 965005                                                                -
Orlando, FL 32896

                                                                                                                                                                           144.00
Account No. 2441                                                                 revolving account opened 10/01

HSBC/ Menards
90 Christiana Road                                                           -
New Castle, DE 19720

                                                                                                                                                                             36.00
                                                                                                                                           Subtotal
                                                                                                                                                                       13,779.00
  1     continuation sheets attached
                                                                                                                               (Total of this page)



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                 Bhakti Bhai A Patel                                                                                        Case No.
   In re
                                                                                                  Debtor           ,



                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITYCLAIMS
                                                                                     (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C    U   D
                   CREDITOR'S NAME,                                      O                                                                  O    N   I
                   MAILING ADDRESS                                       D   H                                                              N    L   S
                 INCLUDING ZIP CODE,                                     E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T    I   P
                                                                         B                                                                  I    Q   U
                AND ACCOUNT NUMBER                                       T   J
                                                                                       CONSIDERATION FOR CLAIM. IF CLAIM                    N    U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G    I   E
                  (See instructions above.)                              R                                                                  E    D   D
                                                                                                                                            N    A
                                                                                                                                            T    T
Account No.                                                                      deficiency balance for hotel property                           E
                                                                                                                                                 D

Huntington Bank
519 Madison Avenue                                                           -
Toledo, OH 43604

                                                                                                                                                                 320,000.00
Account No.




Account No.




Account No.




Account No.




Sheet no. 1     of 1     sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                 320,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)               333,779.00

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B6G (Official Form 6G) (12/07)


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                   Bhakti Bhai A Patel                                                                            Case No.
  In re
                                                                                     Debtor            ,



                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIREDLEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                   State contract number of any government contract.




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                                                                        Document     Page 25 of 55
     0
B6G (Official Form 6G) (12/07)
             continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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                Bhakti Bhai A Patel                                                                          Case No.
  In re
                                                                                     Debtor        ,



                                                                   SCHEDULE H - CODEBTORS
          Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable o n any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Includ e all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR




       0
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                    Case 15-20932                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:49:16   Desc Main
                                                                        Document     Page 27 of 55
B6H (Officialcontinuation   sheets
              Form 6H) (12/07)        attached to Schedule of Codebtors


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Fill in this information to identify your case:

Debtor 1                      Bhakti Bhai A Patel

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                         D An amended filing
                                                                                                         D A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY


Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.
 Part 1:              Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,
                                             Employment status
                                                                      DX Employed                              D Employed
       attach a separate page with                                  X Not employed                             D Not employed
       information about additional

       employers.                            Occupation            Hotel Manager/Owner
       Include part-time, seasonal, or       Employer's name       Self employed
       self-employed work.
                                             Employer's address    Budget Motel
       Occupation may include student
       or homemaker, if it applies.                            2287 Broadway, Gary, IN


                                             How long employed there?          12 years

 Part 2:              Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1       For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00            $        N/A




Official Form B 6I                                                      Schedule I: Your Income                                                   page 1
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                                                      Document     Page 29 of 55

Debtor 1    Bhakti Bhai A Patel                                                                    Case number (if known)


                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
      Copy line 4 here                                                                      4.         $              0.00     $              N/A


5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                  5a. $                     0.00     $                 N/A
      5b.    Mandatory contributions for retirement plans                                   5b. $                     0.00     $                 N/A
      5c.    Voluntary contributions for retirement plans                                   5c. $                     0.00     $                 N/A
      5d.    Required repayments of retirement fund loans                                   5d. $                     0.00     $                 N/A
      5e.    Insurance                                                                      5e. $                     0.00     $                 N/A
      5f.    Domestic support obligations                                                   5f.  $                    0.00     $                 N/A
      5g.    Union dues                                                                     5g.  $                    0.00     $                 N/A
      5h.    Other deductions. Specify:                                                     5h.+ $                    0.00 +   $                 N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                 0.00     $                 N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                 0.00     $                 N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.     $         1,700.00         $                 N/A
      8b. Interest and dividends                                                            8b.     $                 0.00      $                N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.     $                 0.00   $                   N/A
      8d. Unemployment compensation                                                         8d.     $                 0.00   $                   N/A
      8e. Social Security                                                                   8e.     $                 675.00   $                 N/A
      8f.    Other government assistance that you regularlyreceive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.     $                 0.00     $                 N/A
      8g. Pension or retirement income                                                      8g.     $                 0.00     $                 N/A

      8h.    Other monthly income. Specify:                                                 8h.+ $                    0.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $                           $                 N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $           2375.00     + $            N/A = $          2375.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.

      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                   11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                            12.   $         2,375.00
                                                                                                                                             Combined
                                                                                                                                             monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      •       No.
      D       Yes. Explain:




Official Form B 6I                                                     Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1              Bhakti Bhai A Patel                                                                  Check if this is:
                                                                                                           D An amended filing
Debtor 2                                                                                                   D A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS                                          MM / DD / YYYY

Case number                                                                                                D A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                      maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                      12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:       Describe Your Household
1.    Is this a joint case?
      • No. Go to line 2.
      D Yes. Does Debtor 2 live in a separate household?
             D No
             D Yes. Debtor 2 must file a separate Schedule J.

2.    Doyouhavedependents?             • No
      Do not list Debtor 1 and         D Yes. Fill out this information for       Dependent’s relationship to         Dependent’s          Does dependent
      Debtor 2.                        each dependent...........                  Debtor 1 or Debtor 2                age                  live with you?
      Do not state the dependents'                                                                                                         D No
      names.                                                                                                                               D Yes
                                                                                                                                           D No
                                                                                                                                           D Yes
                                                                                                                                           D No
                                                                                                                                           D Yes
                                                                                                                                           D No
                                                                                                                                           D Yes
3.    Do your expenses include                    • No
      expenses of people other than
      yourself and your dependents?               D Yes


Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                            Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                  4. $                                1,104.00

      If not included in line 4:

      4a.   Real estate taxes                                                                             4a.   $                                500.00
      4b.   Property, homeowner’s, or renter’s insurance                                                  4b.   $                                 90.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.   $                                 30.00
      4d.   Homeowner’s association or condominium dues                                                   4d.   $                                  0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.   $                                150.00


Official Form B 6J                                                   Schedule J: Your Expenses                                                    page 1
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                                                                  Document     Page 31 of 55

Debtor 1      Bhakti Bhai A Patel                                                                                     Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                                6a. $                                       350.00
      6b.     Water, sewer, garbage collection                                                                              6b. $                                         0.00
      6c.    Telephone, cell phone, Internet, satellite, and cable services                                                 6c. $                                       180.00
      6d.     Other. Specify:                                                                                             6d. $                                           0.00

7.    Food and housekeeping supplies                                                                     7. $                                                           450.00
8.    Childcare and children’s education costs                                                           8. $                                                             0.00
9.    Clothing, laundry, and dry cleaning                                                                9. $                                                            50.00
10.   Personal care products and services                                                              10. $                                                              0.00
11.   Medical and dental expenses                                                                      11. $                                                            120.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                     12. $                                                            300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                               13. $                                                              0.00
14.   Charitable contributions and religious donations                                                 14. $                                                              0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                             15a. $                                                            384.00
      15b. Health insurance                                                                           15b. $                                                              0.00
      15c. Vehicle insurance                                                                          15c. $                                                             60.00
      15d. Other insurance. Specify:                                                                 15d. $                                                               0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                       16. $                                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                 17a. $                                                                0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                                 0.00
      17c. Other. Specify:                                                                           17c. $                                                                 0.00
      17d. Other. Specify:                                                                           17d. $                                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                             18. $                                                            170.00
19.   Other payments you make to support others who do not live with you.                                   $                                                             0.00
      Specify:                                                                                       19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                                20a. $                                                             0.00
      20b. Real estate taxes                                                                          20b. $                                                             0.00
      20c. Property, homeowner’s, or renter’s insurance                                               20c. $                                                             0.00
      20d. Maintenance, repair, and upkeep expenses                                                   20d. $                                                             0.00
      20e. Homeowner’s association or condominium dues                                                20e. $                                                             0.00
21.   Other: Specify:     Regular expenses from operation of business                                21. +$                                                          1,000.00
22. Your monthly expenses. Add lines 4 through 21.                                                                           22.      $                           4,938.00
    The result is your monthly expenses.
23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                    3,950.00
      23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                   4,938.00

      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                          23c. $                                     -988.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
      • No.
      D Yes. Explain: Debtor resides with ten family members who assist in meeting monthly expenses.




Official Form B 6J                                                           Schedule J: Your Expenses                                                                   page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)         United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                               Case No.
                                                                                     Debtor(s)                Chapter    7




                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 18
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date04/28/2015                                                           Signature /s/Bhakti Bhai A. Patel
                                                                                     Bhakti Bhai A Patel
                                                                                     Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7)(04/13)



                                                                United States Bankruptcy Court
                                                                         Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                                 Case No.
                                                                                       Debtor(s)                Chapter        7

                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                     DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other
than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2),(31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     D         business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately precedingthis
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar yearmay
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                     SOURCE
                          $4,000.00                                  2015 gross income from operation of Budget Motel
                          $0.00                                      2013 gross income from operation of Budget Motel (net loss)
                          $1,600.00                                  2013 gambling winnings
                          $12,000.00                                 2014 gross income from operation of Budget Motel (not including taxes or
                                                                     expenses)




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B7 (Official Form 7) (04/13)
2
               2. Income other than from employment or operation of business
    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     •         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                     SOURCE
                          $2,700.00                                  2015 income from social security year to date
                          $8,100.00                                  2014 income from social security
                          $8,100.00                                  2013 income from social security


               3. Payments to creditors
    None       Complete a. or b., as appropriate, and c.
     •
               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate
               value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments
               that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
               plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                               DATES OF                                                     AMOUNT STILL
    OF CREDITOR                                                                 PAYMENTS                              AMOUNT PAID              OWING


    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     •         immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditoron
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                           AMOUNT
                                                                                DATES OF                                    PAID OR
                                                                                PAYMENTS/                                 VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                   TRANSFERS                                TRANSFERS             OWING


    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
     •         creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                            AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                    DATE OF PAYMENT                       AMOUNT PAID              OWING


               4. Suits and administrative proceedings, executions, garnishments and attachments
    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     D         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                             NATURE OF              COURT OR AGENCY                           STATUS OR
 AND CASE NUMBER                                                             PROCEEDING             AND LOCATION                              DISPOSITION
 Huntington National Bank v. Bhakti Patel AKA                                                       Circuit Court of Cook County, Illinois
 Bhakti Bhai A. Patel                                                                               County Department, Law Division


    None          •
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  b. D         r equitable process within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
  e            chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
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               spouses  are separated and a joint petition is not filed.)
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    Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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 NAME AND ADDRESS OF PERSON FOR WHOSE                                                          DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                           DATE OF SEIZURE             PROPERTY


               5. Repossessions, foreclosures and returns
    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     •         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                     FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                    TRANSFER OR RETURN              PROPERTY



               6. Assignments and receiverships
    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     •         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     •         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                NAME AND LOCATION
 NAME AND ADDRESS                                                    OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                 CASE TITLE & NUMBER               ORDER                    PROPERTY



               7. Gifts
    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     •         and usual gifts to family members aggregating less than $200 in value per individual family member and charitablecontributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                          RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                          DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT


               8. Losses
    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     •         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                       LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy
    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     D         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                                 AMOUNT OF MONEY
 NAME AND ADDRESS                                                         NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                      OF PROPERTY

 Patricia A. Kovacs, Attorney                                             2/23/2015                                     $1500.00
 P.O. Box 257
 Curtice, OH 43412



               10. Other transfers
    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of thedebtor,
     •         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                  DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                               DATE                           AND VALUE RECEIVED


    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     •         trust or similar device of which the debtor is a beneficiary.


 NAME OF TRUST OR OTHER                                                                           AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                   DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                          TRANSFER(S)             IN PROPERTY


               11. Closed financial accounts
    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     •         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                            TYPE OF ACCOUNT, LAST FOUR
                                                                            DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                           AND AMOUNT OF FINAL BALANCE                          OR CLOSING



               12. Safe deposit boxes
    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     •         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                           NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                  OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                      TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY



                  •
    None
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 13. S             fs
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              List 7)
                   all(04/13)
                       setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days precedingthe
      o       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either orboth
      f       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                             DATE OF SETOFF                        AMOUNT OF SETOFF




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               14. Property held for another person
    None       List all property owned by another person that the debtor holds or controls.
     •

 NAME AND ADDRESS OF OWNER                                 DESCRIPTION AND VALUE OF PROPERTY             LOCATION OF PROPERTY

               15. Prior address of debtor
    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     •         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                  NAME USED                                  DATES OF OCCUPANCY

               16. Spouses and Former Spouses
    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     •         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately precedingthe
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or
               toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     •         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                           NAME AND ADDRESS OF                  DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                     GOVERNMENTAL UNIT                    NOTICE                       LAW


    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     •         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.


                                                           NAME AND ADDRESS OF                  DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                     GOVERNMENTAL UNIT                    NOTICE                       LAW


    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     •         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                        DOCKET NUMBER                              STATUS OR DISPOSITION




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               18 . Nature, location and name of business
    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     D         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES

 Flag Hospitality                                                      13051 Deshler Road          operation of hotel               2002- 2012
                                                                       North Baltimore, OH         known as Crown Inn
                                                                       45872-9774
 Budget Motel                                                          2728 Broadway               operation only (debtor           2002- until present
                                                                       Gary, IN 46407              does not own the real
                                                                                                   estate) of motel located
                                                                                                   at 2728 Broadway, Gary,
                                                                                                   IN 46407; no branding.


    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     •

 NAME                                                                     ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- orpart-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements
    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
     •         supervised the keeping of books of account and records of the debtor.


 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     •         of account and records, or prepared a financial statement of the debtor.


 NAME                                                ADDRESS                                                DATES SERVICES RENDERED

    None           •
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 c. L          t all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
 is            the debtor. If any of the books of account and records are not available, explain.
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6NAME                                                                                  ADDRESS




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   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     •         issued by the debtor within two years immediately preceding the commencement of this case.


 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories
    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     •         and the dollar amount and basis of each inventory.


                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                   INVENTORY SUPERVISOR                                  (Specify cost, market or other basis)


    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
     •

                                                                                  NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                RECORDS


               21 . Current Partners, Officers, Directors and Shareholders
    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     •

 NAME AND ADDRESS                                                         NATURE OF INTEREST                           PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectlyowns,
     •         controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                         TITLE                            OF STOCK OWNERSHIP


               22 . Former partners, officers, directors and shareholders
    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     •         commencement of this case.


 NAME                                                           ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     •         immediately preceding the commencement of this case.


 NAME AND ADDRESS                                                         TITLE                            DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation
    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     •         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                            DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                   OF WITHDRAWAL                                VALUE OF PROPERTY

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               24. Tax Consolidation Group.
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   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     •         group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                        TAXPAYER IDENTIFICATION NUMBER(EIN)




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               25. Pension Funds.
    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, asan
     •         employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.


 NAME OF PENSION FUND                                                                                       TAXPAYER IDENTIFICATION NUMBER(EIN)

                                                                                 * * * * **

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date 04/28/2015                                                          Signature Bhakti Bhai A. Patel
                                                                                     Bhakti Bhai A Patel
                                                                                     Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8)(12/08)                                              United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                              Case No.
                                                                                     Debtor(s)               Chapter    7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

Property No. 1

Bmo Harris Bank Po Box 94034
                                                                                      Describe Property Securing Debt: 4937 N. Sayre Avenue,
Palatine, IL 60094                                                                    Chicago, IL 60656 Residential Real Estate

 Debt to be reaffirmed




JP Morgan Chase BankPO Box 182613                                                        Describe Property Securing Debt: 4937 N. Sayre Avenue,
Columbus, OH 43218

Debt to be reaffirmed




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PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages ifnecessary.)

Property No. 1

Lessor's Name:                                                  Describe Leased Property:                     Lease will be Assumed pursuant to 11
-NONE-                                                                                                        U.S.C. § 365(p)(2):
                                                                                                              D YES            D NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date 04/29/2015                                                          Signature /s/Bhakti Bhai A. Patel
                                                                                     Bhakti Bhai A Patel
                                                                                     Debtor




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                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                               Case No.
                                                                                     Debtor(s)                Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                $                       1,500.00
             Prior to the filing of this statement I have received                                      $                       1,500.00
             Balance Due                                                                                $                           0.00

2.     The source of the compensation paid to me was:

             •     Debtor           D Other (specify):
3.     The source of compensation to be paid to me is:

             •     Debtor           D Other (specify):

4.       • I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversaryproceeding.
                                                                             CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:     04/29/2015                                                                    /s/Patricia A. Kovacs
                                                                                    Patricia A. Kovacs
                                                                                    Patricia A. Kovacs
                                                                                    P.O. Box 257
                                                                                    Curtice, OH 43412
                                                                                    419-787-2666 Fax: 419-836-8613
                                                                                    patricia.a.kovacs@gmail.com




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B 201A (Form 201A) (11/12)



                                                      UNITED STATES BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF ILLINOIS
                                          NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                   OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

          You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor ina
joint case must complete thebriefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                          Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can takeeffect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishingoperation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                                 Case No.
                                                                                     Debtor(s)                  Chapter        7

                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                         Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.


 Bhakti Bhai A Patel                                                                  X /s/Bhakti Bhai A. Patel                       04/29/2015
 Printed Name(s) of Debtor(s)                                                           Signature of Debtor                           Date

 Case No. (if known)                                                                  X
                                                                                          Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
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notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include thiscertification.




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                                                                United States Bankruptcy Court
                                                                        Northern District of Illinois
 In re      Bhakti Bhai A Patel                                                                            Case No.
                                                                                     Debtor(s)             Chapter    7




                                                      VERIFICATION OF CREDITOR MATRIX

                                                                                           Number of Creditors:                                   7




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: April 29, 2015                                                   /s/Bhakti Bhai A. Patel                                          /s/




                                                                          Bhakti Bhai A Patel
                                                                          Signature of Debtor




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                  American Honda Finance
                  2170 Point Blvd
                  Ste 100
                  Elgin, IL 60123

                  Bmo Harris Bank
                  Po Box 94034
                  Palatine, IL 60094

                  Citi
                  PO Box 6241
                  Sioux Falls, SD 57117

                  Gecrb/ Sams Club DC
                   PO Box 965005
                  Orlando, FL 32896

                  HSBC/ Menards
                  90 Christiana Road
                  New Castle, DE 19720

                  Huntington Bank
                  519 Madison Avenue
                  Toledo, OH 43604

                  JP Morgan Chase Bank
                  PO Box 182613
                  Columbus, OH 43218
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